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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




In re Tether and Bitfinex Crypto Asset              Case No.: 1:19-cv-09236 (KPF) (SN)
Litigation




        MEMORANDUM OF LAW IN SUPPORT OF TETHER AND BITFINEX
          DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ CLAIMS




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                                PRELIMINARY STATEMENT

       Bitfinex1 and Tether2 are accused of fraudulently issuing between $1 billion to $3 billion

worth of the “stablecoin” tether, which they allegedly used to buy other cryptocommodities over

a five-year period to prop up prices. Through the alleged scheme, they “created the largest asset

bubble in history”3—the well-known explosion of crypto-assets values to $795 billion in 2017-

2018, which soon crashed by more than half. If blaming this global market phenomenon on a

proportionately miniscule group of stablecoin transactions seems ridiculous, it is.

       Beyond the shaky factual foundation of this case, the Amended Consolidated Class Action

Complaint (the “Complaint” or “Compl.”) has glaring legal flaws that call for the case to be

dismissed in its entirety. Those flaws are the subject of this motion.

       Plaintiffs’ core theory is that Defendants sent false price signals to the cryptocommodities

market via fraudulent tether issuances. The issuances were fraudulent, the theory goes, because,

like any stablecoin, tethers are only supposed to be issued when customers buy them for the

equivalent amount of traditional currency. One U.S. dollar tether (or “USDT”) is worth $1.00, and

can be redeemed for the price paid (less fees) at any time. Traders use stablecoins like USDT so

that they can trade other virtual currencies more efficiently, without having to traverse back-and-

forth between the crypto-assets infrastructure and the traditional banking system.

       According to Plaintiffs, Defendants issued an unspecified amount of tethers in exchange

for nothing, and then Tether’s affiliate, the crypto-assets exchange Bitfinex, used these “unbacked”



1
  “Bitfinex” or the “Bitfinex Defendants” refer to iFinex Inc., BFXNA Inc., and BFXWW Inc.
2
  “Tether” or the “Tether Defendants” refer to Tether Holdings Limited, Tether Limited, Tether
Operations Limited, and Tether International Limited.
3
  (Compl. ¶ 186.) Despite the correction, bitcoin prices maintained significant value by the end of
2018. The price of bitcoin in December 2018 ($3,500.00)—at the end of the alleged scheme—was
still nearly three times higher than in March 2017 ($1,200). (Id. ¶¶ 93-96.)
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tethers to buy cryptocommodities when prices were falling, to falsely signal genuine market

demand for these cryptocommodities. Plaintiffs allege that Defendants later sold their newly

purchased cryptocommodity for cash, thereby “backfilling” the reserves that were supposed to be

held against outstanding tethers (yet somehow this did not undo the inflationary effect of the initial

purchases).

       Plaintiffs are five buyers of “cryptocommodities” (a subset of cryptocurrencies that

Plaintiffs define as those that are “decentralized” and that have a controlled supply, like bitcoin)

who seek to represent anyone in the United States that ever bought cryptocommodities over a five-

year period and who was supposedly injured by the inflated prices. Plaintiffs bring a wide range

of claims, but fail to adequately allege any of them.

       First, Plaintiffs’ antitrust claims should be dismissed because there is no allegation of harm

to competition. Whatever may be said about the allegedly underlying scheme, it has nothing to do

with preventing market entrants, entrenching a monopolist, or otherwise reducing competition.

Separately, Plaintiffs’ claims for monopolization cannot proceed absent allegations that

Defendants have monopoly power in the cryptocommodities market—that is, that Defendants have

such a dominant market position that they can raise prices and restrict output. Nothing like that is

alleged (nor would it be plausible). Simply put, alleging that a deceptive scheme can impact prices

does not mean that the wrongdoer is a monopolist, or that the claim fits within the antitrust laws.

       Second, Plaintiffs’ market manipulation claims under the Commodity Exchange Act

(“CEA”) should be dismissed because Plaintiffs fail to plead actual damages. Plaintiffs allege that

Defendants’ “carefully timed” transactions with “unbacked” tethers created artificially high prices,

but fail to allege whether their own purchases were made anywhere near those times. The CEA

covers only commodity futures. The one Plaintiff who purchased futures is not alleged to have



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done so in a manner that connects to the alleged price inflation (as opposed to, for example, the

downward price pressure created by Defendants’ offsetting sales). This is part of a larger problem

whereby the Plaintiffs fail to allege market manipulation with the particularity required by Federal

Rule of Civil Procedure (“Rule”) 9(b).

       For example, while Plaintiffs rely heavily on an academic paper—which, it should be

emphasized, has been revised to concede that the allegedly suspicious trading patterns could very

well be attributed to a market “player” and not to any wrongdoing by Bitfinex or Tether4—they do

not tie any of the paper’s analysis to their specific purchases, or to what was happening in the

cryptocommodities market at those times. They essentially point to the boom-and-bust of the

volatile cryptocommodities market and seek to hold Defendants responsible for every penny of

supposedly “inflated” values.

       Third, Plaintiffs’ RICO claim fails to meet the stringent “proximate cause” requirements

unique to RICO. A RICO plaintiff must allege a “direct” injury that is the “first step” in the causal

chain triggered by the wrongdoing—that is, without independent factors that could disrupt the

cause-and-effect relationship. This requirement is necessary so that the stiff remedies of RICO are

available only in narrow circumstances, with immediate and clear causation. Here, Plaintiffs do

not allege any direct transactions with Defendants, but instead allege that, via an untold number of

independent trading decisions by an untold number of market participants, the decision to issue

“unbacked” tethers at one point in time caused Plaintiffs to overpay for cryptocommodities

somewhere else, and some point in time later, in the markets. That Plaintiffs seek to hold

Defendants responsible for what they call the “largest asset bubble in history” only confirms that




4
 John M. Griffin & Amin Shams, Is Bitcoin Really Un-Tethered? (Oct. 28, 2019) (the “Revised
Griffin Article”), at page 7 (see Compl. ¶ 293).
                                                 3
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they are relying on exactly the sort of remote, speculative theories of causation that cannot suffice

for purposes of RICO.

       Beyond the causation problem, Plaintiffs’ central fraud allegation—that the Defendants

issued “unbacked” tether—has not been plausibly pleaded. The Plaintiffs do not plead they have

direct knowledge of tether’s backing, but rather, make unfounded allegations which cannot sustain

their unreasonable inferences. Moreover, Plaintiffs have failed to sufficiently allege two “predicate

acts” of racketeering activity, as the predicate acts upon which they rely are either ill-pled or are

legally defective for various reasons.

       Finally, while the Court should not exercise supplemental jurisdiction over the remaining

claims under state law, those claims, too, are not adequately pleaded. Common law fraud requires

(among other things) allegations that Plaintiffs relied upon the allegedly fraudulent statements, as

opposed to the impersonal “fraud-on-the-market” type reliance that is sometimes allowed in the

context of federal securities fraud claims. Plaintiffs here do not allege their purchases were made

in reliance on anything Defendants said or did. Similar reasons require dismissal of Plaintiffs’ last

state law claim for consumer fraud under General Business Law (“GBL”) § 349. And in all events

GBL § 349 covers only consumer goods, not cryptocommodities.5

       The Court should therefore dismiss the Complaint with prejudice.6




5
   Notably, Plaintiffs make no substantive allegations against Defendant DigFinex Inc.
(“DigFinex”), requiring its dismissal from this case. Similarly, Plaintiffs offer only a handful of
allegations against Ludovicus Jan van der Velde and Giancarlo Devasini (the “Individual
Defendants”), which lack sufficient facts to sustain any of Plaintiffs’ claims against them.
6
  To aid the Court, annexed as Appendix A is a chart listing Plaintiffs’ causes of action and the
Defendants named in each cause of action.
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                        THE ALLEGATIONS OF THE COMPLAINT

       A.      Tether and Bitfinex

       Tether issues a digital token called “tether,” which is a type of “stablecoin.” (Compl. ¶¶ 5,

112.) Unlike cryptocommodities, stablecoins are intended to maintain a stable price because they

are issued in exchange for, and “backed” by, the traditional (or “fiat”) currency in which they are

denominated. (Id. ¶ 113.) For example, U.S. dollar tethers, or “USDT,” are issued when purchased

for U.S. dollars, and Tether maintains an equivalent amount of reserves that keep the value of

USDT stable. (Id. ¶ 116.) Traders generally use stablecoins as a convenient means to buy and sell

other virtual currencies because stablecoins are equivalent to fiat currency but are “formatted to

work on the Blockchain” (i.e., outside the traditional, less efficient banking system). (Id. ¶ 126.)

       Bitfinex is one of the world’s largest virtual currency exchanges, and is a corporate affiliate

of Tether. (Id. ¶¶ 139, 459.)

       B.      The Alleged Market Manipulation

       Plaintiffs are five individuals who allegedly made varying purchases of cryptocommodities

between January 6, 2016 and June 3, 2020, but Plaintiffs provide no details about sales or out of

pocket losses. (Id. ¶¶ 18-22.) Plaintiffs allege that, “from February 17, 2015 to the present,”

Defendants engaged in a “sophisticated scheme to artificially inflate the price of

cryptocommodities by purchasing bitcoin and other cryptocommodities with USDT that was not

fully backed by U.S. dollars when the price of bitcoin was falling, creating the illusion of increased

demand for cryptocommodities, and thus driving up cryptocommodity prices.” (Id. ¶¶ 17, 187.)

       The alleged scheme worked as follows: Tether allegedly “printed” unbacked USDT, which

it transferred to Bitfinex. (Id. ¶¶ 191, 196, 216.) No customer made corresponding dollar deposits

to support the issuance and circulation of this USDT. Instead, Bitfinex simply transferred the

USDT to addresses on two other exchanges, Bittrex and Poloniex (the “1AA6” and “1J1d”

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addresses, which Plaintiffs allege were owned by Bitfinex). Bitfinex then allegedly purchased an

equivalent amount of bitcoin (e.g. 100,000 USDT would be used to purchase $100,000 worth of

bitcoin). (Id. ¶¶ 214-16.) Plaintiffs claim Bitfinex made “massive, carefully timed purchases” with

unbacked USDT to falsely “signal to the market that there was enormous demand” for

cryptocommodities (including bitcoin), drawing in investors, whose own trading activity would

cause prices to spike. (Id. ¶¶ 3, 11.)

        Meanwhile, Bitfinex transferred the purchased bitcoin from Bittrex and Poloniex to itself

and thereafter sold it, thereby providing the reserves for the formerly “unbacked” USDT now

circulating in the market. Magically, however, while selling such bitcoin on the Bitfinex exchange

purportedly created “downward pressure” on bitcoin price, it did not fully unwind the price

increases from previously purchasing the same bitcoin on Bittrex and Poloniex. (Id. ¶¶ 215-16.)

        Plaintiffs allege that Tether issued between $1 and $3 billion in unbacked USDT over the

five-year scheme, and that somehow this unbacked USDT was responsible for inflating worldwide

virtual currency market capitalization to $795 billion—over 250 times the allegedly unbacked

USDT—before the bubble burst, and values dropped to $329 billion. (Id. ¶¶ 98, 186, 208, 217.)

                                           ARGUMENT

I.      PLAINTIFFS’ ANTITRUST CLAIMS SHOULD BE DISMISSED

        A.      Plaintiffs Lack Antitrust Standing Because They Allege No Injury to
                Competition (Counts 1-4)

        The antitrust laws do not “purport to afford remedies for all torts committed by or against

persons engaged in interstate commerce.” Brooke Group Ltd. v. Brown & Williamson Tobacco

Corp., 509 U.S. 209, 225 (1993) (internal quotation marks and citation omitted). Instead, the

antitrust laws provide a remedy only for injuries flowing “from a competition-reducing aspect or




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effect of the defendant’s behavior.” Atlantic Richfield Co. v. USA Petroleum Co., 495 U.S. 328,

344 (1990) (emphasis in original).

       That essential element is missing here. While Plaintiffs allege that Tether “possesses a

near-perfect monopoly on the stablecoin market” (Compl. ¶ 135), this is not a case about Tether

exploiting that position, for example, to exclude others from entering the stablecoin business or to

somehow charge supra-competitive prices for stablecoins. Rather, Plaintiffs allege Defendants

manipulated the cryptocommodities market through deceptive conduct (misrepresentations

concerning USDT reserves), which caused other market participants to bid up cryptocommodity

prices. (Id. ¶ 393.) This has nothing to do with reduced competition.

       Plaintiffs’ allegation that market prices were “artificially inflate[d]” (id.) does not suffice.

The Supreme Court has rejected the view that all misconduct that “distorts the markets” results in

antitrust injury. Atlantic, 495 U.S. at 339 n.8. Thus, if a plaintiff merely alleges “that prices were

distorted” but “does not allege that this was a result of a reduction in competition,” there is no

antitrust claim. Laydon v. Mizuho Bank, Ltd., No. 12 Civ. 3419, 2014 WL 1280464, at *8

(S.D.N.Y. Mar. 28, 2014).

       For example, in Elliott Industries Ltd. Partnership v. BP America Production Co., 407 F.3d

1091 (10th Cir. 2005), the plaintiff, on behalf of a putative class of owners of royalty interests in

certain oil and gas wells, alleged that the two oil companies operating the wells conspired to charge

an “exorbitant,” undisclosed “processing fee” in order to “drive down the amount the class

receive[d]” in royalties. Id. at 1123. The Tenth Circuit dismissed the antitrust claims because

“[e]ven assuming [the] conduct is anticompetitive,” secretly imposing an “illegitimate post-

production cost” was not “competition-reducing … behavior.” Id. at 1125.




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       So too here. Whatever may be said of the alleged misconduct, it is not in any sense

competition-reducing. Therefore, all the Plaintiffs’ antitrust claims must be dismissed.

       B.         Plaintiffs’ Section 2 Monopolization Claim Should Be Dismissed
                  (Count 1)

       To state a claim for monopolization under Section 2 of the Sherman Act, Plaintiffs must

plausibly allege facts showing (1) “the possession of monopoly power in the relevant market”; and

(2) “anticompetitive conduct,” i.e., “conduct without a legitimate business purpose that makes

sense only because it eliminates competition.” In re Adderall XR Antitrust Litig., 754 F.3d 128,

133 (2d Cir. 2014) (internal quotation marks omitted). Plaintiffs fail to allege sufficient facts on

either element.

                  1.    Plaintiffs Fail to Plausibly Allege the Defendants Have
                        Monopoly Power in the Cryptocommodities Market

       “Market power is the ability to raise price profitably by restricting output.” Ohio v. Am.

Express Co., 138 S. Ct. 2274, 2288 (2018) (emphasis omitted). Without “the ability to raise

unilaterally prices and profitably maintain those prices above competitive levels and/or restrict

output in the market,” when a defendant “implements an anticompetitive restraint” consumers will

simply “switch to a competitor’s product.” State of N.Y. by Abrams v. Anheuser-Busch, Inc., 811

F. Supp. 848, 871 (E.D.N.Y. 1993).

       Here, Plaintiffs allege that Defendants “have market power in the cryptocommodities

market because they can control prices of cryptocommodities.” (Compl. ¶ 393.) But this confuses

Defendants’ alleged ability to engage in deceptive conduct that will impact how others bid prices

in the cryptocommodities market with the type of power a monopolist would have—namely, the

power to “restrict output” and thereby raise prices “unilaterally.” KMB Warehouse Distributors,

Inc. v. Walker Manufacturing Co., 61 F.3d 123, 129 (2d Cir. 1995). There is no hint in the

Complaint that Tether, “by restricting its own output … can restrict marketwide output and, hence,

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increase marketwide prices.” Rebel Oil Co., Inc. v. Atlantic Richfield Co., 51 F.3d 1421, 1434 (9th

Cir. 1995).7

       For example, in Wichita Clinic, P.A. v. Columbia/HCA Healthcare Corp., 45 F. Supp. 2d

1164, 1194 (D. Kan. 1999), one health care system sued another for hiring away 13 physicians in

the wake of a failed joint venture negotiations. The court rejected the antitrust claims for lack of

market power (among other reasons). Even though there was evidence that “defendants have some

ability to influence prices in the relevant markets,” that was insufficient because, in “a competitive

environment, almost every participant will have some ability to influence prices.” Id. at 1194.

Market power exists “only where the defendant possesses the ability to control prices.” Id.

(emphasis added); see Eastman Kodak v. Image Technical Serv., 504 U.S. 451, 481 (1992) (market

power is the power to “control prices or exclude competition”) (citation omitted); Portney v. CIBA

Vision Corp., 593 F. Supp. 2d 1120, 1128 (C.D. Cal. 2008) (defendant accused of improperly

“exact[ing] royalties” to “driv[e] up the costs of contact lens manufacturers” did not have “market

power” because defendant did not have a dominant position or even participate in relevant market).

       Here, there are no plausible factual allegations to suggest that Defendants have such a

dominant market share of cryptocommodities that they can dictate prices in a market that Plaintiffs

allege is worth hundreds of billions of dollars and involves “many hundred” different tokens.



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  Plaintiffs’ confusion perhaps stems from the fact that the case law will sometimes state that
market power means “the power to control prices or exclude competition.” Tops Markets, Inc. v.
Quality Markets, Inc., 142 F.3d 90, 98 (2d Cir. 1998) (citation omitted). But “the meaning—though
not the literal wording—” of this “standard formulation” is not that any alleged “control” over
prices equates to market power. 2B Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law ¶ 501
(4th ed. 2020). It is that a defendant has market power when it “(1) can profitably set prices well
above its costs and (2) enjoys some protection against rival’s entry or expansion that would erode
such supracompetitive prices and profits.” Id. This “[m]ore precise[]” expression of the standard,
United States v. Microsoft Corp., 253 F.3d 34, 51 (D.C. Cir. 2001), has been specifically endorsed
and quoted by the Second Circuit. AD/SAT, Div. of Skylight, Inc. v. Associated Press, 181 F.3d
216, 227 (2d Cir. 2007) (quoting Areeda & Hovenkamp treatise).
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(Compl. ¶¶ 47 n.37, 64.) Rather, according to Plaintiffs, whatever “power” the Defendants had

over prices arose from the allegedly manipulative scheme—misrepresenting to the market that all

USDT in circulation are fully backed by reserves. Plaintiffs allege that Defendants “accomplished

this price control by targeting large new issuances of unbacked USDT to times when the

cryptocommodity prices were falling, signaling to the market that there was a large market demand

causing an increase in cryptocommodity prices.” (Id. ¶ 393 (emphasis added).) Indeed, Plaintiffs

accuse Defendants of drawing in other market participants whose bids, in turn, impacted market

price. This is not the same as Defendants having the power of a monopolist to abuse a dominant

market share and unilaterally raise prices or restrict the supply of cryptocommodities.

       On this independent basis, Plaintiffs’ monopolization claims must be dismissed.

               2.      Plaintiffs Fail to Allege Anticompetitive Conduct

       Plaintiffs’ Section 2 monopolization claim must also be dismissed because Plaintiffs have

failed to plausibly allege that Defendants engaged in anticompetitive or otherwise exclusionary

conduct. Anticompetitive conduct is “conduct without a legitimate business purpose that makes

sense only because it eliminates competition.” In re Adderall, 754 F.3d at 133 (internal quotation

marks and citation omitted). Plaintiffs offer no such allegations here. They allege only that Tether

and Bitfinex, through a market manipulation scheme, caused cryptocommodity prices to rise. They

do not allege that Tether and Bitfinex sought to, or did in fact, exclude any other participant

entering the cryptocommodities market (whether as buyer, seller, or issuer), or controlled bitcoin

or other cryptocommodity supply in a way that excluded competitors from participating.

       C.      Plaintiffs Fail to Allege Attempted              Monopolization      of    the
               Cryptocommodities Markets (Count 2)

       Plaintiffs allege that “[t]o the extent [Defendants] did not or do not possess actual

monopoly power,” they should alternatively be liable for attempted monopolization. (Compl.


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¶ 402.) Attempted monopolization requires “(1) that the defendant has engaged in predatory or

anticompetitive conduct with (2) a specific intent to monopolize and (3) a dangerous probability

of achieving monopoly power.” Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 456 (1993).

       As discussed in Section I.B.2, above, Plaintiffs do not plausibly allege facts supporting the

first element, that Defendants engaged in anticompetitive or otherwise exclusionary conduct.

       Plaintiffs also fail to plausibly allege facts supporting the other two elements.

       With respect to the “specific intent to monopolize” element, Plaintiffs fail to allege facts to

suggest that the alleged manipulative scheme, even if true, has anything to do with gaining

monopoly power. At best, the allegations indicate an intent to profit from releasing unbacked

USDT into the market and then “backfilling” their reserves. This conduct would not contemplate

or require monopolizing either the bitcoin market specifically or cryptocommodities generally.

       Plaintiffs also fail to allege a “dangerous probability [of] . . . a monopoly.” A necessary,

“threshold showing” for this element is that the defendant has a sufficient market share in the first

place, so that the alleged attempt has a “dangerous probability of success.” Twin Labs., Inc. v.

Weider Health & Fitness, 900 F.2d 566, 570 (2d Cir. 1990). The Second Circuit has “held that a

33 percent market share does not approach” the required showing. AD/SAT, 181 F.3d at 229.

       Here, Plaintiffs simply make the conclusory allegation that Defendants “had or have a

dangerous probability of success in maintaining monopoly power over the cryptocommodity

market.” (Compl. ¶ 402.) They do not allege that Bitfinex or Tether held any particular share of

the global cryptocommodities market. While Bitfinex is alleged to have used “between 1 and 3

billion unbacked USDT” (id. ¶ 217) to purchase bitcoin on Bittrex and Poloniex, these purported

purchases appear to have been made over a long period of time. And, in any event, Plaintiffs allege

Defendants did not maintain their holdings of bitcoin, but rather transferred them back to Bitfinex



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to sell for U.S. dollars. (Id. ¶¶ 216, 270.) Thus, whatever share of the relevant market Defendants

may have possessed at any one time was both minimal and transient, and flatly insufficient to find

a dangerous probability of obtaining a monopoly.8

       D.      Plaintiffs Fail to Plausibly Allege a Conspiracy to Monopolize (Count 3)

       A conspiracy claim under Section 2 must allege “(1) concerted action, (2) overt acts in

furtherance of the conspiracy, and (3) specific intent to monopolize.” Electronics Communications

Corp. v. Toshiba America Consumer Products, Inc., 129 F.3d 240, 246 (2d Cir.1997) (internal

quotations omitted).

       Here, for the same reasons as shown in Section I.C, above, Plaintiffs fail to plausibly allege

a specific intent to monopolize.

       This claim must also be dismissed because Plaintiffs fail to plausibly allege a conspiracy

among Defendants. In the antitrust context, “[a] plaintiff’s job at the pleading stage, in order to

overcome a motion to dismiss, is to allege enough facts to support the inference that a conspiracy

actually existed.” Mayor & City Council of Baltimore, Md. v. Citigroup, Inc., 709 F.3d 129, 136

(2d Cir. 2013). A plaintiff may meet its burden either by (1) alleging “direct evidence that the

defendants entered into an agreement in violation of the antitrust laws,” such as “a recorded phone

call in which two competitors agreed to fix prices at a certain level,” or (2) by alleging “conscious

parallelism, when such interdependent conduct is accompanied by circumstantial evidence and



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  While Plaintiffs allege that Defendants “possesses a near-perfect monopoly on the stablecoin
market” (Compl. ¶ 135), that is not the market that Plaintiffs allege is at risk of monopolization.
The Complaint is clear that the alleged attempt is to gain “monopoly power over the
cryptocommodity market.” (Id. ¶ 402.) In fact, stablecoins like tethers do not meet Plaintiffs’ own
definition of cryptocommodities: crypto-assets that “have a controlled supply that cannot be
unilaterally increased, and are decentralized.” (Id. ¶ 64.) Stablecoins are centralized, and their
issuers can unilaterally increase supply. Plaintiffs concede that “stablecoins are not mined and are
not cryptocommodities.” (Id. ¶ 114 (emphasis added).) Thus, any alleged stablecoin monopoly is
irrelevant here.
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plus factors.” Id. at 136. (citations omitted). Plus factors may include “a common motive to

conspire, evidence that shows that the parallel acts were against the apparent individual economic

self-interest of the alleged conspirators, and evidence of a high level of interfirm communications.”

Id. (citations omitted)

       Here, Plaintiffs do not allege direct evidence of an actual agreement between or among

Defendants to monopolize the cryptocommodities market. To the extent Plaintiffs rely upon

indirect evidence, they fail to allege the kind of circumstantial evidence or plus factors from which

the Court could infer an actual agreement to monopolize. For instance, Plaintiffs’ allegations

concerning Poloniex and Bittrex amount to nothing more than describing two exchanges operating

out of their own economic self-interest. Indeed, Plaintiffs acknowledge that “Poloniex [and

Bittrex] benefited by allowing USDT trading. By listing USDT, it provided customers a . . . dollar-

based asset to trade on its platform . . . . As a result of its early listing and promotion of USDT,

Poloniex quickly became one of the largest crypto-exchanges ….” (Compl. ¶ 168.)

       Plaintiffs’ allegations that Crypto Capital or Fowler were involved in a conspiracy to

monopolize the cryptocommodities market makes even less sense. Neither one is alleged to have

operated in the market. Neither operates an exchange or is engaged in the purchase or sale of

cryptocommodities. Bitfinex may have relied upon Crypto Capital to act as a payment processor.

But that arrangement does not therefore mean Defendants and Crypto Capital (or Fowler)

conspired to monopolize the cryptocommodities market.

       Finally, Plaintiffs allege no facts concerning DigFinex’s or the Individual Defendants’

purported involvement in a conspiracy. Generally, Plaintiffs fail to allege facts that, even if taken

as true, establish that the Defendants engaged in concerted, overt acts with the specific intent to

achieve an unlawful monopoly. Other than threadbare allegations that Defendants were part of a



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“conspiracy,” there are no facts that describe the conspiratorial conduct or explain how the

purported conspiracy sought to create an unlawful monopoly in a relevant market.

       E.         Plaintiffs Fail to Plausibly Allege an Agreement in Restraint of Trade
                  Under Sherman Act, Sections 1 and 3 (Count 4)

       Section 1 of the Sherman Act prohibits restraints on trade “effected by a contract,

combination, or conspiracy,” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 553 (2007) (citations

omitted), and Section 3 “merely extends the reach of Section 1 to trade or commerce involving

U.S. Territories and the District of Columbia.” Spinelli v. Nat’l Football League, 96 F. Supp. 3d

81, 107 n.10 (S.D.N.Y. 2015). Here, Plaintiffs have failed to plead the elements of a Section 1 or

3 claim for the same reasons as discussed above. First, Plaintiffs have alleged no unlawful

agreement, for the same reasons set forth in Section I.D, above. Second, the Complaint fails to

plead facts to support a conclusion that Defendants’ conduct restrained trade in the

cryptocommodities market or caused harm to competition in that market, for the reasons set forth

in Section I.B.

II.    PLAINTIFFS’ CEA CLAIMS SHOULD BE DISMISSED (COUNTS 5-7)

       Plaintiffs limit their CEA claims for “market manipulation” (Count 5), and for “principal

agent” and “aiding and abetting” liability (Counts 6 and 7), to the “Cryptocommodity Futures

Subclass,” defined as “All persons or entities that purchased or otherwise acquired

Cryptocommodity Futures in the United States or its territories at any time from February 17, 2015,

through the present and were injured thereby.” (Compl. ¶ 377).9




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  Plaintiffs do so because “[i]t is nevertheless well-settled that the CEA only provides a private
cause of action to investors that traded in futures contracts at artificial prices,” and that
“[p]urchasers who transacted in ‘spot markets’ for traditional commodities generally do not have
claims under the CEA.” Dkt. 78 at 3; see also id. at 9 n.5 (citing cases).
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       The Complaint only identifies one Plaintiff who transacted in cryptocommodities futures—

Pinchas Goldshtein, who purports to represent the “Cryptocommodities Futures Subclass.”

(Compl. ¶¶ 22, 377.) Yet, Plaintiffs’ allegations concerning Goldshtein state only:

       During the Class Period, he purchased cryptocommodity futures, the prices of
       which had been artificially inflated by Defendants’ market manipulation and as a
       result suffered economic losses and actual damages. For example, between January
       16, 2018 and June 3, 2020, Pinchas Goldshtein purchased 629 bitcoin futures
       positions.

(Id. ¶ 22.) These conclusory allegations, bereft of the specific factual information about dates,

prices, quantities, and damages, are wholly insufficient. Accordingly, Plaintiffs’ claims under the

CEA should be dismissed for multiple, independent reasons, discussed below.10

       A.      Plaintiffs Lack Standing to Bring Claims Under the CEA

       CEA § 22(a) confers standing only on a plaintiff who “has suffered ‘actual damages’ as a

result of defendant’s manipulation.” In re LIBOR-Based Financial Instruments Antitrust Litig.,

962 F. Supp. 2d 606, 620 (S.D.N.Y. 2013) (quoting 7 U.S.C. § 25(a)(1)). For these purposes, when

the claim is “based on discrete, episodic instances of manipulation”—as opposed to “persistent”

manipulation throughout the relevant period—a plaintiff must allege “transaction[s] at a time

during which prices were artificial as a result of defendants’ alleged . . . manipulative conduct, and

that the artificiality was adverse” to the plaintiff’s position. In re Platinum & Palladium Antitrust

Litig., No. 1:14 Civ. 9391, 2017 WL 1169626, at *28 (S.D.N.Y. Mar. 28, 2017) (citations and

quotations omitted)



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   Bitcoin futures trading commenced on December 18, 2017. See, e.g., CME Group, CME Group
Self-Certifies Bitcoin Futures to Launch Dec. 18, CISION PR NEWSWIRE (Dec. 01, 2017, 07:00 ET)
https://www.prnewswire.com/news-releases/cme-group-self-certifies-bitcoin-futures-to-launch-
dec-18-300564891.html. Economic experts have identified that event as having caused the bitcoin
bubble to burst. See, e.g., Galina Hale, Arvind Krishnamurthy, Marianna Kudlyak, and Patrick
Shultz, How Futures Trading Changed Bitcoin Prices, FRBSF ECONOMIC LETTER 2018-12 (May
7, 2018), https://www.frbsf.org/economic-research/files/el2018-12.pdf.
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       Here, Plaintiffs allege only episodic (not persistent) manipulation. They accuse the

Defendants of making “massive, carefully timed” cryptocommodity purchases with unbacked

tethers over a five-year period that caused bitcoin and other cryptocommodity prices to “spike.”

(Compl. ¶ 3, 10 (emphasis added).) According to the Complaint, in order to hide evidence of the

scheme in certain “end-of-month reports,” Defendants had to sell bitcoin, placing “downward

pressure” on the same prices that the scheme had supposedly inflated. (Id. ¶ 216.) Thus, whether

and to what extent a particular plaintiff was injured will depend on when each Plaintiff made

purchases in relation to the “carefully timed,” allegedly fraudulent transactions.

       Yet this critical level of detail is missing from the Complaint. Plaintiffs allege they made

various purchases of bitcoin and other cryptocommodities on various dates from 2016 to 2020 (id.

¶¶ 18-22), but make no effort to tie those purchases to the alleged, “carefully timed” manipulative

conduct. For example, while Plaintiffs allege that “in the hours following the transfer of USDT

from Bitfinex to Bittrex and Poloniex, the price of bitcoin increased appreciably,” Plaintiffs

nowhere allege that they purchased bitcoin (or any other cryptocommodity) during these hours, or

whether they ever sold any positions at a loss. (Id. ¶ 273.) In response to a pre-motion letter,

Plaintiffs argued that they have sufficiently alleged damages insofar as they “have alleged they

transacted in markets manipulated by the conspiracy,” citing in support In re Term Commodities

Cotton Futures Litigation, 371 F. Supp. 3d 95 (S.D.N.Y. 2019). (ECF 138.) But that case cuts

against standing because the plaintiff there “specifically allege[d] losses of approximately

$289,520 on the July 2011 Contract indicating the detrimental impact of the market manipulation.”

371 F. Supp. 3d at 100. That level of specificity is exactly what is missing here, particularly as to

the lone futures investor, Goldshtein. Plaintiffs fail to identify what money they lost by what trades,

or how those trades are particularly connected to the manipulation. For these reasons, Plaintiffs



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lack standing. See Harry v. Total Gas & Power North America, Inc., 244 F. Supp. 3d 402, 415-16

(S.D.N.Y. 2017); see also Nguyen v. FXCM Inc., 364 F. Supp. 3d 227, 240 (S.D.N.Y. 2019)

(dismissing where plaintiffs provided “no accounting of actual losses suffered or analyses of

potential damages based on assessments of orders actually placed”).11

       B.      Plaintiffs Fail to State a Claim of Market Manipulation Under the CEA

       Even if Plaintiffs were able to allege standing under Section 22 of the CEA—which they

cannot—a “complaint that alleges manipulation of commodities prices must satisfy Rule 9(b)’s

requirement” of particularity, In re Amaranth Natural Gas Commodities Litig., 587 F. Supp. 2d

513, 535 (S.D.N.Y. 2008), which Plaintiffs have failed to do.

               1.      Plaintiffs Fail to Allege a Section 6(c)(1) Market Manipulation
                       Claim with Particularity (Count 5)

       To state a Section 6(c)(1) CEA claim for market manipulation, Plaintiffs must allege facts

with particularity showing that (1) Defendants possessed an ability to influence market prices; (2)

an artificial price existed; (3) Defendants caused the artificial price; and (4) Defendants specifically

intended to cause the artificial price. See Total Gas, 244 F. Supp. 3d at 412. The Complaint

provides none of this requisite specificity.

       Instead, the Complaint broadly claims that from October 6, 2014 to the present, Defendants

manipulated the market for cryptocommodities by “communicating false information about USDT

being fully backed by U.S. dollars, using this debased USDT to purchase cryptocommodities and

sustain false price floors, and otherwise misrepresenting the demand for cryptocommodities by

issuing unbacked USDT and using it to execute manipulative trades.” (Compl. ¶ 437.) The


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   Plaintiffs cannot claim discovery will remedy any alleged inability to identify manipulative
trades that allegedly harmed them. The dates of USDT issuances are matters of public record.
(Compl. ¶ 272.) So are the dates and times of USDT transfers from Bitfinex to the 1J1d and 1AA6
wallets, which are visible on public blockchains.


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Complaint is replete with charts, graphs, and generalized allegations about what “expert analysis”

supposedly reveals, but no actual details about specific dates, specific trade prices or amounts,

alleged price floors, or price movements constituting the alleged manipulation. An alleged

manipulative scheme described in such a “wholly … conclusory manner,” fails to satisfy Rule 9(b)

and should be dismissed. In re Crude Oil Commodity Litig., No. 06 Civ. 6677, 2007 WL 1946553,

at *6 (S.D.N.Y. June 28, 2007).

       Beyond this basic pleading failure, Plaintiffs fail to make out the requisite elements,

particularly as to Goldshtein, the sole Plaintiff who engaged in futures transactions.

                       (a)     Plaintiffs Have Not Alleged A Specific Intent to
                               Manipulate the Price of Cryptocommodities

       To allege price manipulation under the CEA, Plaintiffs must allege that each Defendant

specifically intended to influence the price of cryptocommodities through Tether’s manipulative

acts. Moreover, Rule 9(b)’s heightened pleading standard requires a plaintiff to allege facts that

“give rise to a strong inference of scienter.” In re Amaranth Natural Gas Commodities Litig., 612

F. Supp. 2d 376, 384 (S.D.N.Y. 2009) (emphasis in original) (internal quotation marks omitted).

       That inference “must be more than merely ‘reasonable’ or ‘permissible’—it must be cogent

and compelling, thus strong in light of other explanations.” Tellabs, Inc. v. Makor Issues & Rights,

Ltd., 551 U.S. 308, 324 (2007). This requires pleading facts showing that a defendant “acted with

the purpose or conscious object of causing or effecting a price or price trend in the market that did

not reflect the legitimate forces of supply and demand.” Sonterra Capital Master Fund, Ltd. v.

Barclays Bank PLC, 366 F. Supp. 3d 516, 552 (S.D.N.Y. 2018).

       Here, Plaintiffs fail to allege any specific facts demonstrating Defendants’ intent to

manipulate the cryptocommodities market. Plaintiffs do not, for instance, reference “specific

communications between the Defendants about any specific plan to cause artificial prices or an


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artificial price trend in the [cryptocommodities] market.” In re Commodity Exch., Inc., Silver

Futures & Options Trading Litig., No. 11 MD 2213, 2012 WL 6700236, at *11 (S.D.N.Y. Dec.

21, 2012).

       Instead, to meet their high burden, Plaintiffs ask the Court to infer scienter on the basis of

Bitfinex’s alleged purchases of bitcoin on the Bittrex and Poloniex exchanges with unbacked

USDT and subsequent sales of those bitcoin on the Bitfinex exchange for U.S. dollars. Even if

true—and they are not—those facts would not support a plausible inference of an intent to

manipulate, because they are more susceptible to the alternative explanation that such conduct was

simply intended to increase the amount of USDT in circulation, without any intent to manipulate

bitcoin or any other cryptocommodity prices.

                       (b)     Plaintiffs Have Not Plausibly Alleged the Existence of an
                               Artificial Price

       Plaintiffs fail to plead that an artificial price existed in the cryptocommodities market. An

artificial price is a price that “does not reflect basic forces of supply and demand.” CFTC v. Wilson,

No. 13 Civ. 7884, 2018 WL 6322024, at *13 (S.D.N.Y. Nov. 30, 2018); see In re Sumitomo Copper

Litig., 182 F.R.D. 85, 90 n.6 (S.D.N.Y. 1998). “When determining if artificial prices exist, a court

may consider the underlying commodity’s normal market forces, historical prices, supply and

demand factors, price spreads, and also the cash market for the commodity at issue.” Silver

Futures, 2012 WL 6700236, at *12.

       Here,    Plaintiffs   allege   that   Defendants    “misrepresent[ed]     the   demand     for

cryptocommodities by issuing unbacked USDT and using it to execute manipulative trades. These

acts were an illegitimate part of the supply-demand equation, prevented true price discovery, and

caused artificial pricing in the cryptocommodity market.” (Compl. ¶ 437.) Despite this word salad

of conclusory accusations, Plaintiffs fail to articulate any theory as to why bitcoin (or other


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cryptocommodity) prices did not rise as a result of the basic forces of supply and demand rather

than the minuscule fraction of the total market that Defendants’ alleged purchases represent.

       As Judge Sullivan recognized in CFTC v. Wilson, an intent to bid, with an understanding

that such bids would affect settlement prices, cannot serve as the basis for an artificial price. 2018

WL 6322024, at *14-15. Here, Bitfinex’s alleged bitcoin purchases were a tiny fraction of the trade

volume. Between March 1, 2017 and December 31, 2017, according to a data source cited

repeatedly in the Complaint (see Compl. ¶¶ 93 n.53, 137 n.78, 244 n.144), total trading volume for

bitcoin exceeded over $860 billion.12 During the same period, Tether issued roughly $1.2 billion

of “new” USDT. (Id. ¶¶ 242, 244.) Thus, these USDT issuances, at most, represent less than 1/7

of 1% of the total bitcoin trade volume.

       The Complaint itself admits that bitcoin trading on Bittrex and Poloniex represents a

minuscule portion of the market. (Id. ¶ 335 (“Currently, Binance has a 24-hour trading volume of

$1.9 billion, compared to $38 and $49 million for Bittrex and Poloniex”).) Thus, Bitfinex’s alleged

trades on Bittrex and Poloniex represent a tiny fraction of the total bitcoin trades occurring on any

given day, the overwhelming majority occurring on other exchanges.

       Plaintiffs’ theory—that carefully timed purchases signaled price support—cannot in itself

account for why prices did not simply stabilize, but “skyrocket[ed]” (id. ¶ 12), much less how

Bitfinex’s supposed minuscule purchases relative to the overall trade volume could possibly distort

true price discovery. That failure is particularly notable for the lone futures purchaser, Goldshtein,



12
            Historical         data           for           Bitcoin,         COINMARKETCAP,
https://coinmarketcap.com/currencies/bitcoin/historical-data/?start=20170301&end=20171230.
The Court may take judicial notice of publicly-reported price and volume trading data. See
Loveman v. Lauder, 484 F. Supp. 2d 259, 268 (S.D.N.Y. 2007); Endovasc Ltd., Inc. v. J.P. Turner
& Co., LLC, No. 02 Civ. 7313, 2004 WL 634171, at *11 (S.D.N.Y. Mar. 30, 2004), aff’d in part,
vacated in part on other grounds, 169 F. App’x 655 (2d Cir. 2006).


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who entered the market in 2018 after the downturn and at a time when, despite new USDT

issuances, bitcoin prices continued falling. (Id. ¶ 96.)

                       (c)     Plaintiffs Have Not Plausibly Alleged That Defendants
                               Had an Ability to Create an Artificial Price, Let Alone
                               Caused the Artificial Price

       For the same reasons, Plaintiffs fail to allege facts that support a finding that Defendants

had an ability to manipulate bitcoin or other cryptocommodity prices and that Defendants’

purported manipulation was the proximate cause of artificial prices.

       As discussed in Section II.B.1(b) above, Plaintiffs do not plausibly explain how Defendants

could manipulate the bitcoin market through their alleged purchases with USDT. To the contrary,

Plaintiffs’ own allegations, and publicly available data regarding trade volume, refute the notion

that Bitfinex’s unilateral conduct could have any sustained price impact on bitcoin or other

commodities. Further, as discussed above, Plaintiffs fail to provide factual allegations

demonstrating that Bitfinex had any such ability as concerns the lone futures investor, Goldshtein,

whose conclusorily alleged purchases appear to have occurred in a falling market.

               2.      Plaintiffs Fail to Allege a Rule 180.1(a) Market Manipulation
                       Claim (Count 5)

       In addition to direct claims under the CEA, Plaintiffs also assert market manipulation

claims under CFTC Rule 180.1. To state a cause of action under Rule 180.1(a), a plaintiff must

allege that the defendants “engaged in prohibited conduct (i.e., employed a fraudulent scheme;

made a material misrepresentation, misleading statement or deceptive omission; or engaged in a

business practice that operated as a fraud); with scienter; and in connection with a contract of sale

of a commodity in interstate commerce.” CFTC v. McDonnell, 332 F. Supp. 3d 641, 717 (E.D.N.Y

2018). Where a plaintiff’s claim is based upon a material misrepresentation, the plaintiff must also




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separately allege (1) reliance and (2) loss causation. See In re Commodity Exch., Inc., 213 F. Supp.

3d 631, 673 (S.D.N.Y. 2016).

       As a threshold matter, Plaintiffs’ Rule 180.1(a) claim fails for the same reasons as their

Section 6(c)(1) claim, i.e.: (1) lack of standing; (2) failure to allege scienter; and (3) failure to

allege the elements of manipulation, particularly as to the sole futures investor, Goldshtein. In

addition, because Plaintiffs’ claims hinge on Tether’s and Bitfinex’s supposed misrepresentations

that USDT was issued without dollar deposits, they should also be dismissed for failing to allege

facts showing either reliance or loss causation.

       As to reliance, Plaintiffs do not claim they were even exposed to, much less made any

investment decisions based upon, Defendants’ alleged misrepresentations.13 Nowhere do Plaintiffs

allege a single purchase of USDT or exchange of USDT for any bitcoin or other cryptocommodity

on the basis of any representation by Defendants concerning USDT.

       As to loss causation, to the extent Plaintiffs allege that Defendants’ conduct caused

sustained price increases, an “artificially inflated purchase price” will “not itself constitute or

proximately cause the relevant economic loss” for such purposes. In re LIBOR-Based Financial

Instruments Antitrust Litig., 935 F. Supp. 2d 666, 717 (S.D.N.Y. 2013), vacated on other grounds,

Gelboim v. Bank of America Corp., 823 F.3d 759 (2d Cir. 2016) (citing Dura Pharmaceuticals,

Inc. v. Broudo, 544 U.S. 336, 342-47 (2005)). Plaintiffs must allege a loss caused by Defendants’

alleged misrepresentations, rather than “changed economic circumstances, changed investor




13
  Plaintiffs similarly fail to allege that any misrepresentations by Defendants were material either
to them or the putative class. “A misleading statement or omission is material if there is a
substantial likelihood that a reasonable investor would consider it important in making an
investment decision.” CFTC v. Int’l Financial Services (New York), Inc., 323 F. Supp. 2d 482, 500
(S.D.N.Y. 2004) (internal quotation marks and citation omitted); McDonnell, 332 F. Supp. at 641.
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expectations, new industry-specific or firm-specific facts, conditions, or other events, which taken

separately or together account” for the supposed losses. Dura, 544 U.S. at 342-46.

       C.      Plaintiffs Fail to State a Claim for Vicarious Liability Under the CEA
               (Counts 6-7)

       Plaintiffs’ claims for vicarious liability fail for two reasons. First, these claims are

foreclosed by Plaintiffs’ failure to plead a primary violation for manipulation: “In order to recover

damages from a secondary party in an action for ‘aiding and abetting’ liability under the [CEA], a

plaintiff must first prove that a primary party committed a commodities violation.” Tatum v. Legg

Mason Wood Walker, Inc., 83 F.3d 121, 123 n.3 (5th Cir. 1996); see also In re Platinum &

Palladium Commodities Litig., 828 F. Supp. 2d 588, 599 (S.D.N.Y. 2011) (dismissing aiding and

abetting claim as a matter of law where primary manipulation claim failed).

       Second, even assuming Plaintiffs adequately pled primary violations, Plaintiffs’ vicarious

liability allegations are too vague and conclusory to survive a motion to dismiss: “[T]o state a

claim for vicarious liability [under the CEA], plaintiffs must allege that the principal manifested

an intent to grant the agent authority, the agent agreed, and the principal maintain[ed] control over

key aspects of the undertaking.” In re Amaranth, 587 F. Supp. 2d at 546 (internal quotation marks

omitted; alteration in original). Thus, to adequately allege aiding and abetting liability, Plaintiffs

must establish that “the defendant (1) had knowledge of the principal’s intent to violate the CEA;

(2) intended to further that violation; and (3) committed some act in furtherance of the principal’s

objective.” Id. at 531.

       Plaintiffs fail to distinguish principal from agent. They similarly fail to allege that any

Defendant had a principal-agent relationship with any other Defendant such that the “principal

manifested an intent to grant the agent authority, the agent agreed, and the principal maintain[ed]

control over key aspects of the undertaking.” Id. at 546 (alteration in original). Nor have Plaintiffs


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alleged the remaining elements of knowledge, intent, and action in furtherance of the principal’s

objective. Thus, the vicarious liability claims should be dismissed.

III.    PLAINTIFFS FAIL TO STATE A RICO CLAIM (COUNTS 8-10)

        As detailed below, Plaintiffs fail to state a RICO claim because (a) they have not

sufficiently pleaded proximate cause, (b) the lynchpin of their various fraud claims requires the

Court to give them the benefit of unfounded and unreasonable inferences, and (c) their “predicate

acts” of racketeering activity are defective for various reasons.14

        A.     Plaintiffs Fail to Plead Proximate Causation

        Any RICO claim requires a plaintiff to allege proximate cause—i.e., a “direct relation

between the injury asserted and the injurious conduct alleged.” Holmes v. Securities Investor

Protection Corp., 503 U.S. 258 (1992) (emphasis added). This is a demanding requirement. Merely

alleging but-for causation—that “but for” the defendant’s wrongful conduct, the plaintiff would

not have suffered injury—is insufficient. Id. at 266. Rather, for RICO proximate cause purposes,

the law does not go “beyond the first step” in the causal chain, so that relief is foreclosed when

there are “independent factors” between the alleged wrongdoing and the alleged harm. Id. at 269,

271. This limitation exists because “the less direct an injury is, the more difficult it becomes to

ascertain the amount of a plaintiff’s damages attributable to the violation.” Id. at 269.

        For example, in Anza v. Ideal Steel Supply Corp., 547 U.S. 451 (2006), a supplier of steel

mill products sued its main competitor for having devised a scheme to underpay taxes and thereby

unfairly “gain sales and market share.” Id. at 454 (alteration removed). The Supreme Court found

no proximate causation because the alleged losses went well beyond the “first step”:



14
   Plaintiffs’ failure to plead a substantive RICO claim “necessarily means that their conspiracy
claim is inadequately pleaded and must be dismissed as well.” Weir v. Cenlar FSB, No. 16 Civ.
8650, 2018 WL 3443173, at *8 (S.D.N.Y. July 17, 2018) (collecting cases).
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       The attenuated connection between [the] injury and the . . . injurious conduct thus
       implicates fundamental concerns expressed in Holmes . . . A court considering the
       claim would need to begin by calculating the portion of [the defendant’s] price drop
       attributable to the alleged pattern of racketeering activity. It next would have to
       calculate the portion of [the plaintiff’] lost sales attributable to the relevant part of
       the price drop. The element of proximate causation recognized in Holmes is meant
       to prevent these types of intricate, uncertain inquiries from overrunning RICO
       litigation.

Id. at 459-60 (emphasis added); see also Empire Merchants, LLC v. Reliable Churchill LLLP, 902

F.3d 132, 140 (2d Cir. 2018) (noting that the “direct relation” requirement stops at the “first step”

to avoid the “administrative difficult[y]” of “determin[ing] how much the tortious conduct injured

the defendant, as compared to other factors”).

       Similarly, in 7 West 57th Street Realty Company, LLC v. Citigroup, Inc., 771 F. App’x 498

(2d Cir. 2019), the court found no proximate cause when a bondholder alleged that LIBOR price

fixing caused its “bond portfolio to decline in value.” As the Court explained, whatever injury was

alleged suffered, “the injury was directly caused by buy/sell decisions that independent market

actors made,” even if “LIBOR may have influenced” those decisions. Id. at 504.

       Here, the “first step” that allegedly caused Plaintiffs’ injury did not involve Plaintiffs at all.

That first step was Bitfinex’s alleged purchase of bitcoin or other cryptocommodities on Bittrex or

Poloniex with “unbacked” USDT. (See Compl. ¶¶ 3, 10.) Those transactions, however, involve

sales by third parties—not Plaintiffs—of cryptocommodities in exchange for allegedly unbacked

USDT. Plaintiffs not only exclude themselves and the Class from such USDT transactions (id.

¶ 378) but expressly confine their claim to their own subsequent purchases of bitcoin or other

cryptocommodities after the alleged Bitfinex transactions. (Id. ¶¶ 18-22, 377.) Thus, the direct

victims of the alleged “first step” are the persons who sold their cryptocommodities to Bitfinex for

“debased” USDT, not Plaintiffs or the class.




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       Plaintiffs instead allege a wholly indirect injury. Plaintiffs claim they were “injured”

because these initial transactions caused bitcoin to soar across all exchanges “in the hours

following the transfer of USDT from Bitfinex to Bittrex and Poloniex.” (Id. ¶ 273.) Plaintiffs allege

they “paid artificially inflated prices” for bitcoin, however, they fail to allege when they made their

purchases in relation to Bitfinex’s alleged transactions. (Id. ¶ 541.)

       As Plaintiffs concede, those soaring bitcoin prices were the result of the independent

actions of numerous other traders and market participants: “[t]his perceived demand naturally

attracted more purchases and further raised cryptocommodity prices,” (id. ¶ 191 (emphasis

added)), and that purchase of bitcoin with “freshly minted Tether … would promote the creation

of a fraudulent bullish market, which would attract more investors to buy bitcoin, contributing this

way to increase the bubble” (id. ¶ 309). That is, the alleged price rise depended wholly on the

decisions and actions of independent actors that Tether and Bitfinex did not control, and indeed

with whom they did not even interact, and from whose purchases their own alleged actions are

several steps removed. Furthermore, Plaintiffs’ claim of causation ignores the contribution of

innumerable other factors that might influence the market and investor decisions (e.g., speculation;

introduction of other cryptocurrencies; distrust of centralized, government-controlled money

supply; initial coin offerings; increasing media attention; and bullish market reports).

       In sum, Plaintiffs’ RICO claim faces two separate proximate causation problems. First,

their alleged injury occurred not at the “first step,” but at an untold number of steps removed from

this conduct. Second, an innumerable number of trades by an innumerable number of market

participants, all making voluntary market decisions based upon an innumerable number of factors,




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stand between Defendants’ alleged conduct and Plaintiffs’ alleged injury.15 The alleged causation

here is thus even more remote than what was lacking in Citigroup and Anza, discussed above. 16

       Finally, this fatal flaw is a matter of pleading, not proof. As Judge Schofield has explained,

“even at the pleading stage, civil RICO’s direct relation requirement is rigorous and requires

dismissal where substantial intervening factors attenuate the causal connection between the

defendant’s conduct and the plaintiff’s injury.” Doe v. Trump Corp., 385 F. Supp. 3d 265, 276-77

(S.D.N.Y. 2019). Accordingly, the RICO claims should be dismissed.17




15
   Plaintiffs’ failure to plead a substantive RICO claim “necessarily means that their conspiracy
claim,” Count 10, “is inadequately pleaded and must be dismissed as well.” See Weir, 2018 WL
3443173, at *8 (citations omitted).
16
   Bridge v. Phoenix Bond & Indem. Co., 553 U.S. 639 (2008), one of the few reported proximate
causation decisions where a RICO claim was successfully based upon false statements made to a
third party, illustrates what is lacking here. In Bridge, the defendants’ false representations about
their bidding caused the local government to award them bids that, under the bidding system,
might have been awarded to plaintiffs if the truth had been revealed. The court in Hemi Group,
LLC v. City of New York, 559 U.S. 1 (2010), explained that the causation theory was
“straightforward” because of the “zero-sum nature of the auction.” Id. at 14. No such “zero-sum”
game exists here. Instead, “[m]ultiple steps”—in the form of countless market transactions, and
similarly countless market forces—“separate the alleged fraud from the asserted injury.” Id.
17
   For similar reasons, Plaintiffs’ § 1962(a) (Count 9) also fails to satisfy proximate cause. Section
1962(a), in relevant part, prohibits “investing … income” that is “derived . . . from a pattern of
racketeering activity” in “acquisition of any interest in, or the establishment or operation of” an
enterprise. Under § 1964(c), Plaintiffs must additionally allege that their injuries were caused by
reason of the alleged investment. See Ouaknine v. MacFarlane, 897 F.2d 75, 82–83 (2d Cir. 1990).
Plaintiffs do not identify a new “enterprise” into which the supposed racketeering income was
“invested” to cause their alleged injury. Rather, as illustrated by Compl. ¶ 554 (“Defendants …
continued fraudulent misrepresentations to help persuade the market that USDT was backed 1:1”),
their alleged injuries “were all caused by the alleged misrepresentations” that constitute the
“predicate acts of wire fraud,” which “are insufficient to state a claim under §[] 1962(a).” 4 K &
D Corp. v. Concierge Auctions, LLC, 2 F. Supp. 3d 525, 544 (S.D.N.Y. 2014). Further, Plaintiffs
simply fail to allege any direct injury for their § 1962(a) claim because the persons directly injured
by Defendants’ alleged purchase of bitcoin or other cryptocommodities with “debased” USDT
remains the sellers, who by the Class definition are not Plaintiffs.

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       B.      Plaintiffs’ Core Claim—that USDT Was Unbacked—Draws From
               Unfounded and Unreasonable Inferences

       The lynchpin of the Complaint is Plaintiffs’ allegation that, from 2015 to the present,

Tether persistently misrepresented that USDT was backed by matching dollar deposits. This claim

expressly underlies the RICO (wire fraud), common law fraud, and GBL § 349 claims and

implicitly underlies the antitrust and CEA claims. Yet Plaintiffs fail to plausibly allege, especially

under heightened pleading standards for fraud claims, that Tether issued unbacked USDT.

       Plaintiffs offer no direct evidence supporting their claim that Tether lacked sufficient

reserves. Moreover, Plaintiffs do not and cannot quantify the extent to which Tether’s reserves

were allegedly deficient, as Plaintiffs’ various assertions at least implicitly acknowledge that

Tether had substantial dollar reserves in its various bank accounts across time. (E.g., ¶ 252).

Lacking any direct evidence, Plaintiffs rely primarily but mightily on unreasonable inferences from

three pieces of shaky circumstantial evidence:

       First, Plaintiffs cite the Tether’s lack of access to a U.S. correspondent bank account,

arguing essentially that Tether could not have reserves for USDT issued during the period because

it had no bank account to take the purchaser’s money. However, Plaintiffs concede that Tether and

Bitfinex lacked a U.S. correspondent bank account only for 5 months—between April 1, 2017 and

September 1, 2017 (id. ¶¶ 233-42), and, outside this period, had such an account. Further, they

concede that, during the 5-month period in question, customers could deposit funds for USDT

purchases both through other trading platforms, such as Bitfinex, and through Crypto Capital (id.

¶¶ 133, 247). Thus, the 5-month absence of a correspondent account cannot give rise to a

reasonable inference that USDT was “unbacked”—based on this evidence, the inference is both

unfounded and unreasonable.




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       Second, to demonstrate Tether’s supposed lack of reserves sufficient to back USDT,

Plaintiffs refer to a document issued by iFinex Inc. (“iFinex”), which they claim shows Tether or

Bitfinex’s lack of reserves for all issued USDT. (Id. ¶ 220 & n.128, citing iFinex Inc., Initial

Exchange Offering of LEO Tokens (May 8, 2019), https://www.bitfinex.com/wp-2019-05.pdf.)

That allegation involves two gross errors: (1) on its face, the document itself does not report

iFinex’s reserves or revenue, but, instead, its gross profit (i.e., gross revenue less cost of goods

sold), which is utterly irrelevant to what “reserves” Tether and Bitfinex may have; and (2) Plaintiffs

confuse an income sheet item (revenues or gross profit) with a balance sheet item (reserves or

customer deposits).18 In either event, the document cannot be misconstrued to establish an

inference that Tether and Bitfinex lacked sufficient reserves.

       Third, Plaintiffs cite Crypto Capital’s implosion and refusal in 2018 to supply Bitfinex with

funds Crypto Capital held in trust for Bitfinex. (Id. ¶ 248). It is true that Crypto Capital imploded

and defaulted on its obligations to Bitfinex. But Crypto Capital’s refusal to remit Bitfinex’s funds

does not mean (a) USDT was not backed by reserves when issued (the fact that Crypto Capital had

the money proves the contrary), or (b) the Crypto Capital funds somehow ceased to exist when it

failed to pay, as Bitfinex had and has a valid claim (which it is pursuing through litigation) to the

return of these funds. Moreover, this all occurred at the Bitfinex level. Plaintiffs concede that—in



18
   Reserves or customer deposits (funds that are redeemable upon request) are no more “revenue”
to Tether than they are to a bank. Rather, as the sources cited in the Complaint make clear, Tether’s
“revenues” are (1) interest income on its reserves, and (2) fees charged to customers for Tether’s
services. See Robert-Jan Den Haan, Clearing Up Misconceptions: This is How Tether Should (and
Does) Work, BITCOIN MAGAZINE (June 14, 2018), https://bitcoinmagazine.com/articles/clearing-
misconceptions-how-tether-should-and-does-work [https://perma.cc/6J2Q-2U33] (cited in
Compl. ¶ 161 n.101) (“The only source of ‘revenue’ generated by Tether itself is the interest gained
on the U.S. dollars held in its reserve”); Tether: Fiat currencies on the Bitcoin blockchain, TETHER,
at 4 (June 17, 2016), https://tether.to/wp-content/uploads/2016/06/TetherWhitePaper.pdf
[https://perma.cc/M2WS-58JC] (“Users can buy or sell as many tethers as they want, quickly, and
with very low fees,” cited in Compl. ¶ 127 n.66).
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response to the crisis—two things happened: (a) Bitfinex made a public disclosure, and (b) Tether,

which had its own banking facilities and reserves, loaned it a sizeable sum to shore up its reserves.

(Id. ¶¶ 239, 252, 369-70.) So, the dilemma with Crypto Capital’s failure to release Bitfinex’s funds

cannot be twisted by Plaintiffs into an unfounded and unreasonable “inference” that USDT was

unbacked by reserves when it was issued.

       Finally, while Plaintiffs rely on an academic article, the article was revised to concede that

the alleged purchases propping up the markets could have been made by “one large player” in the

markets. (Id. ¶ 299.) For the reasons above, Plaintiffs’ assertion that the “player” is collectively,

the Defendants, is based on unreasonable inferences.

       Although Plaintiffs are entitled to all reasonable inferences from stated facts, the Court

need not accept Plaintiffs’ explanations where there are “alternative explanations so obvious that

they render plaintiff's inferences unreasonable.” L-7 Designs, Inc. v. Old Navy, LLC, 647 F.3d 419,

430 (2d Cir. 2011). The inference must “rise[] to what experience indicates is an acceptable level

of probability.” Fisher v. Painewebber Inc., No. 94 Civ. 2202, 1994 WL 512356, at *2 (S.D.N.Y.

Sept. 20, 1994) (internal quotation marks and citation omitted). Here, Plaintiffs’ proffered

evidence gives rise to no reasonable inference that USDT was “unbacked,” and thus the Court

should reject the Plaintiffs’ various fraud theories—including under RICO—for this reason alone.

       C.      Plaintiffs Fail to Adequately Plead Two Predicate Acts

       A RICO plaintiff must allege “at least two [predicate] acts of racketeering activity”

committed in a ten-year period. First Capital Asset Mgmt., Inc. v. Satinwood, Inc., 385 F.3d 159,

178 (2d Cir. 2004) (alteration in original) (quoting 18 U.S.C. § 1961(5)). Plaintiffs choose five

such offenses: 18 U.S.C. §§ 1343 (wire fraud), 1344 (bank fraud), 1956 (money laundering), 1957

(proceeds of unlawful activity), and 1960 (operation of a money transmitter business). As shown

below, Plaintiffs fail to adequately allege any of them, which is an independent basis to dismiss.
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                1.      No Wire Fraud (18 U.S.C. § 1343)

        Plaintiffs have failed to plead the requisite fraudulent intent. The essential elements of wire

fraud are (1) a scheme to defraud; (2) to get money or property and (3) furthered by use of interstate

mail or wires. William v. Affinion Group, LLC, 889 F.3d 116 (2d Cir. 2018). Plaintiffs must also

establish scienter, which requires facts that “give rise to a strong inference of fraudulent intent.”

Satinwood, Inc., 385 F.3d at 179. Fraudulent intent for purposes of wire fraud requires “that some

actual harm or injury was contemplated by the schemer.” United States v. D’Amato, 39 F.3d 1249,

1257 (2d Cir. 1994) (emphasis in original). “Because the defendant must intend to harm the fraud’s

victims, ‘misrepresentations amounting only to a deceit are insufficient to maintain a mail or wire

fraud. . . instead, the deceit must be coupled with a contemplated harm to the victim.’” Id. Here,

Plaintiffs are unable to establish scienter because the actual scheme they allege did not contemplate

any harm to purchasers of USDT.

        That is, Plaintiffs generally allege that Defendants engaged in a scheme to use “unbacked”

USDT to purchase bitcoin or other cryptocommodities, which were subsequently sold for cash,

thereby establishing the reserves for the previously “unbacked” USDT now in circulation. (Compl.

¶¶ 187-89.) Plaintiffs do not allege that any purchaser of USDT actually received less in value than

what Defendants represented. Nor do they allege that any USDT holder was unable to redeem the

full value of their USDT with Bitfinex or Tether. Thus, the intent of the “scheme,” as alleged,

involved getting USDT into circulation in the markets, not defrauding purchasers of USDT.

                2.      No Bank Fraud (18 U.S.C. § 1344)

        Plaintiffs’ bank fraud claims rest upon the allegation that Crypto Capital made false

statements or omissions to certain U.S. banks, which allegedly exposed those banks to a “risk of

loss.” (Id. ¶¶ 496-98.) Plaintiffs allege that Bitfinex “knowingly aided and abetted” this alleged

bank fraud. (Id. ¶ 500.) Plaintiffs fail to state a claim for three reasons.

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        First, numerous courts have held that “a RICO plaintiff who is not a financial institution

under the statute lacks standing or injury to bring a RICO claim based on bank fraud.” Edmonds

v. Seavey, No. 08 Civ. 5646, 2009 WL 2949757, at *6 n.8 (S.D.N.Y. Sept. 15, 2009). The rationale

for these holdings is that the bank, not third parties, is the direct victim of any such alleged fraud,

thus negating proximate cause. Bank of China, N.Y. Branch v. NBM LLC, 359 F.3d 171, 178 (2d

Cir. 2004). Here, neither Crypto Capital’s alleged misrepresentations or omissions to the banks,

nor deposits and withdrawals of dollar deposits by Bitfinex’s customers, influenced the

cryptocommodity prices paid by Plaintiffs. It is therefore difficult to see how any such

misrepresentations victimized them.

        Second, Plaintiffs fail to allege facts establishing aiding and abetting, i.e., (1) actual

knowledge of the alleged wrong, and (2) substantially assisting its commission. Bloor v. Carro,

Spanbock, Londin, Rodman & Fass, 754 F.2d 57, 62 (2d Cir. 1985); see also, Aquino v. Trupin,

833 F. Supp. 336, 344 (S.D.N.Y. 1993) (dismissing aiding and abetting claim where “the plaintiffs

have alleged no facts which raise an inference that SBC knew of any underlying securities fraud”).

Nor do Plaintiffs allege Bitfinex played any role beyond providing customers instructions for

depositing or withdrawing funds and confirming the availability of the funds for customer use.

Without more, Plaintiffs’ allegations cannot sustain aider-and-abettor liability. See Williams v.

Bank Leumi Tr. Co., No. 96 Civ. 6695, 1997 WL 289865, at *5 (S.D.N.Y. May 30, 1997) (“[T]he

mere fact that all the participants in the alleged scheme used accounts at Bank Leumi to perpetrate

it, without more, does not rise to the level of substantial assistance necessary to state a claim for

aiding and abetting liability.”).

        Third, Plaintiffs separately allege that Bitfinex, Tether, and the Individual Defendants

committed bank fraud by opening a bank account in the name of a shell company in October 2018.



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(Compl. ¶¶ 501-02.) However, while ¶ 502 identifies this bank as “Prosperity Revenue

Merchandising Limited at the Bank of Communications, in New York,” that is a clear error.

Plaintiffs admit that this bank is a foreign bank located in Hong Kong, not New York (id. ¶ 348 &

n.199), rendering the bank fraud statute inapplicable. United States v. Stavroulakis, 952 F.2d 686,

694 (2d Cir. 1992) (scheme’s victim must be “a federally insured or chartered bank”).

               3.      No Money Laundering (18 U.S.C. § 1956)

       Plaintiffs allege that DigFinex, Tether, Bitfinex, and the Individual Defendants committed

money laundering under 18 U.S.C. § 1956(a)(1) because: (1) “knowing the debased USDT were

proceeds of their wire fraud,” they (2) “transferred that unbacked USDT to addresses at Poloniex

and Bittrex” (Compl. ¶ 506), (3) with intent to conceal the nature, source, ownership, and control

of the funds (id. ¶ 508), and (4) such transfers were “financial transactions” because they involved

“movement of funds” to financial institutions (id. ¶ 509). Alternatively, Plaintiffs allege

Defendants violated § 1956(a) (2) by transferring USDT with the “intent . . . to promote . . . wire

fraud and operation of money transmitting businesses” without a license. (Id. ¶ 511.)

       These allegations fail to state a claim for four reasons. First, they rise and fall with

Plaintiffs’ “wire fraud” claims. Since the former fail to state a claim, so do the latter.

       Second, contrary to Plaintiffs’ allegations, USDT that is issued, whether or not backed, is

not criminal “proceeds,” because it is not “derived from or obtained or retained, directly or

indirectly” from an unlawful activity under 18 U.S.C. § 1956(c)(9). See United States v.

Approximately 250 Documents Containing the Forged Hand Writing of President John F. Kennedy

& Others, No. 03 Civ. 8004, 2008 WL 4129814, at *2 (S.D.N.Y. Sept. 5, 2008) (holding that

forged documents, misrepresented to be genuine, are an instrumentality, not “proceeds,” of crime).

       Third, contrary to Plaintiffs’ allegations, transfer of USDT does not constitute movement

of “funds.” USDT is not in fact money, being neither issued by a sovereign nor generally accepted
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as payment for goods and services and functioning solely as a “trading pair” for certain

cryptocurrencies on certain crypto-exchanges. Cf. United States v. Petix, No. 15 Cr. 227A, 2016

WL 7017919, at *4-7 (W.D.N.Y. Dec. 1, 2016) (holding that bitcoin is not “funds” because it is

not “sums of money,” quoting Clark v. Rameker, 573 U.S. 122, 127 (2014)).19

       Fourth, Plaintiffs do not explain how transfers of USDT to Poloniex and Bittrex involved

specific intent “to promote the Enterprise’s commission of” either “wire fraud” or “operation of

money transmitter businesses without licenses.” Merely reciting the elements of the crime pro

forma, of course, is not sufficient to satisfy Plaintiffs’ pleading obligations.

               4.      No Unlawful Money Transactions (18 U.S.C. § 1957)

       Plaintiffs allege that DigFinex, Tether, and Bitfinex “knowingly engaged in monetary

transactions in criminally derived property” in violation of 18 U.S.C. § 1957(a) by: (1) transferring

unbacked USDT, which was (2) “property constituting or derived from proceeds” of unlawful

activity (specifically, it appears, wire fraud), and which was (3) “funds” and/or (4) used “by, and

through Bitfinex, Bittrex, and Poloniex, to purchase cryptocommodities to artificially inflate their

prices.” (Compl. ¶¶ 515, 517-19.) These allegations fail to state a claim because, as discussed: (a)

Plaintiffs fail to adequately plead wire fraud; (b) issuance of unbacked USDT does not constitute

criminal “proceeds”; and (c) USDT does not constitute “funds.”

               5.      No Money Transmitting (18 U.S.C. § 1960)

       Plaintiffs allege that DigFinex, Bitfinex, and the Individual Defendants operated Bitfinex

as a “money transmitter business” in “New York and other states” in violation of 18 U.S.C.




19
  While other courts, contra Petix, have held that “bitcoin” is “funds,” Defendants respectfully
submit that Petix is the better-reasoned decision, particularly as to USDT, which unlike bitcoin, is
not recognized as tender for real-world goods and services.
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§ 1960(b)(1)(A). (Compl. ¶¶ 525-26.) “Money transmitting” means “transferring funds on behalf

of the public.” 18 U.S.C. § 1960(b)(2).

       This claim, however, rests solely upon conclusory allegations. For example, Plaintiffs

allege that “these Defendants opened bank accounts in New York for the purpose of operating

their money transmitting business” (Compl. ¶ 526), yet identify no such account—other than the

“Prosperity” account, which is actually in Hong Kong. (Id. ¶ 348 & n.199.) Similarly, while

Plaintiffs allege that when registering BFXNA Inc. and Tether Limited as money service

businesses, various defendants “falsely reported” that their activities were limited to Wyoming,

when they actually transmitted “through a number of other unregistered entities and shell

companies” (id. ¶¶ 530, 532). Plaintiffs do not identify any such U.S.-based unregistered entities

and shell companies.

       Plaintiffs alternatively allege that the “Count Eight Defendants’ operation of Bitfinex [and]

Tether … involved ‘the transportation or transmission of funds’ [they] knew ‘to have been derived

from a criminal offense’ and were ‘intended to be used to promote or support unlawful activity.’”

(Id. ¶ 534.) This appears to be, specifically, the “U.S. dollars” the Defendants supposedly

“received from customers in exchange for unbacked USDT.” (Id. ¶ 535.) However, like the bank

fraud allegations discussed above, Plaintiffs do not allege how Tether or Bitfinex’s receipt of

dollars from their own customers proximately caused any alleged injury to Plaintiffs, which

supposedly arose from a wholly separate market manipulation scheme.20



20
   Plaintiffs appear to allege that the causal link that “the unbacked USDT used to purchase and
inflate the price of cryptocommodities were proceeds and funds” derived from their unlawful
money transmitter business. (Compl. ¶ 535 (emphasis added).) This allegation is either self-
contradictory or self-defeating. It is self-contradictory because, according to Plaintiffs, “unbacked
USDT” is not the proceeds of dollar deposits transmitted by customers, but instead something that
Tether allegedly created ex nihilo. It is self-defeating because if the USDT used by Tether/Bitfinex


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IV.    THE COURT SHOULD DISMISS PLAINTIFFS’ STATE LAW CLAIMS

       If the federal claims are dismissed, the Plaintiffs’ stated basis for suing in federal court will

no longer hold. (Id. ¶ 42.) While the Court retains discretion to address the state law claims under

a theory of supplemental jurisdiction, a “district court usually should decline the exercise of

supplemental jurisdiction when all federal claims have been dismissed at the pleading stage.”

Denney v. Deutsche Bank AG, 443 F.3d 253, 266 (2d Cir. 2006). There is no reason to depart from

that settled guidance in this case. Regardless, should the Court reach the state law claims, Plaintiffs

have failed to adequately state them.

       A.      Plaintiffs Fail to State a Claim for Common Law Fraud (Count 11)

       Plaintiffs’ claim for common law fraud must be dismissed because Plaintiffs fail to plead

(1) reliance or transaction causation; and (2) and damages or loss causation.

               1.      Plaintiffs Fail to Plead Reliance or Transaction Causation

       Under settled law, to state a common-law fraud claim, Plaintiffs must plead actual reliance

on the fraudulent statements—not “presumed reliance” based upon “fraud on the market.” See Int’l

Fund Mgmt. S.A. v. Citigroup Inc., 822 F. Supp. 2d 368, 387 (S.D.N.Y. 2011) (“The requisite

reliance is actual reliance, not the presumed reliance of a Section 10(b) action”); accord Ramiro

Aviles v. S & P Glob., Inc., 380 F. Supp. 3d 221, 283 (S.D.N.Y. 2019).21

       Plaintiffs, however, plead no facts showing that any purchases identified in Complaint

¶¶ 18-22 occurred in actual reliance upon a specific disclosure about USDT of which Plaintiffs

were contemporaneously aware. Instead, they offer only the following conclusory allegation:



to make purported cryptocommodity purchases was, in fact, “backed” by dollar deposits (how else
could money transmitting be involved), then it defeats Plaintiffs’ market manipulation allegations.
21
   Plaintiffs similarly cannot allege that third parties (i.e., the “market”) relied on Defendants’
misrepresentations. “[T]hird-party reliance does not satisfy the reliance element of a fraud claim.”
Pasternack v. Lab. Corp. of Am. Holdings, 27 N.Y.3d 817, 827 (N.Y. 2016).
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“Plaintiffs reasonably relied on these false representations and omissions of material fact to their

detriment when purchasing cryptocommodities at artificially high prices caused by these

materially false statements and omissions.” (Compl. ¶ 579.) As such, Plaintiffs fail to plead

reliance as a matter of law. See Int’l Fund Mgmt., 822 F. Supp. 2d at 386 (holding that conclusory

allegations that Plaintiffs “read and relied upon” the alleged false statements were insufficient); In

re Bear Stearns Companies, Inc. Sec., Derivative, & ERISA Litig., 995 F. Supp. 2d 291, 313

(S.D.N.Y. 2014) (holding that plaintiff’s failure to allege “that it actually purchased any particular

Bear Stearns securities on any particular date in reliance on any particular alleged misstatements

in the 2006 Form 10–K” was insufficient), aff’d sub nom. SRM Global Master Fund Ltd. P’ship

v. Bear Stearns Companies L.L.C., 829 F.3d 173 (2d Cir. 2016). Accordingly, Plaintiffs’ fraud

claim should be dismissed for failure to allege reliance.

        Plaintiffs similarly fail to allege transaction causation. Laub v. Faessel, 297 A.D.2d 28,

*31 (1st Dep’t 2002) (“To establish causation, plaintiff must show . . . that defendant’s

misrepresentation induced plaintiff to engage in the transaction in question (transaction

causation).”). Plaintiffs do not allege anything Bitfinex or Tether said about USDT that induced

them to make purchases of bitcoin or other cryptocommodities.

               2.      Plaintiffs Fail to Plead Damages or Loss Causation

        New York follows the “out-of-pocket rule” for common law fraud damages, under which

Plaintiffs are “limited to recovering their losses,” i.e., the “actual pecuniary loss sustained as a

direct result of the wrong.” Lama Holding Co. v. Smith Barney Inc., 88 N.Y.2d 414, 422, 646

N.Y.S.2d 76, 76 (N.Y. 1996). Here, the Complaint does not allege an actual out-of-pocket-loss,

for the simple reason that Plaintiffs never allege they sold any of their cryptocommodity holdings

at a loss.

        Plaintiffs also fail to allege loss causation. As the First Department recently held:
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       Loss causation is the causal link between the alleged misconduct and the economic
       harm ultimately suffered by the plaintiff . . . . To establish loss causation a plaintiff
       must prove that the subject of the fraudulent statement or omission was the cause
       of the actual loss suffered. Moreover, when the plaintiff’s loss coincides with a
       marketwide phenomenon causing comparable losses to other investors, the
       prospect that the plaintiff’s loss was caused by the fraud decreases, and a plaintiff’s
       claim fails when it has not . . . proven . . . that its loss was caused by the alleged
       misstatements as opposed to intervening events…. Indeed, when an investor suffers
       an investment loss due to a market crash [] of such dramatic proportions that [the]
       losses would have occurred at the same time and to the same extent regardless of
       the alleged fraud, loss causation is lacking . . . .

Basis PAC-Rim Opportunity Fund (Master) v. TCW Asset Mgmt. Co., 149 A.D.3d 146, 149, 48

N.Y.S.3d 654, 656–57 (1st Dep’t 2017) (internal quotation marks and citations omitted).

       Plaintiffs cannot escape the force of these authorities. Plaintiffs allege only that a crash

occurred in late 2017 and cryptocommodity prices have declined. Plaintiffs fail to allege the crash

occurred because the cryptocommodities market learned about Defendants’ alleged fraud.

Accordingly, Plaintiffs common-law fraud claim is deficient and should be dismissed.

       B.      Plaintiffs Fail to State a Claim Under GBL § 349 (Count 12)

       GBL § 349 declares unlawful “[d]eceptive acts or practices in the conduct of any business,

trade or commerce or in the furnishing of any service in this state.” There are three elements: (1)

“the challenged act or practice was consumer-oriented”; (2) “it was misleading in a material way”;

and (3) the plaintiff “suffered injury as a result of the deceptive act.” Pulse Creations, Inc. v.

Vesture Grp., Inc., 154 F. Supp. 3d 48, *58 (S.D.N.Y. 2015) (Failla, J.). Plaintiffs fail to

sufficiently plead these critical elements, as discussed below.

               1.      The Plaintiffs Do Not Allege Consumer-Oriented Wrongdoing

       To invoke GBL § 349, Plaintiffs must “charge conduct that is consumer oriented.” New

York University v. Continental Insurance Co., 662 N.E.2d 763, 770 (N.Y. 1995).

Cryptocommodity-related transactions fail this test.



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       New York state and federal courts, for example, have found GBL § 349 inapplicable to

claims concerning securities because, unlike “an automobile, a television set, or the myriad

consumer goods found in supermarkets,” securities are “purchased as investments, not as goods to

be ‘consumed’ or ‘used.’” Morris v. Gilbert, 649 F. Supp. 1491, 1497 (E.D.N.Y. 1986). For the

same reason, GBL § 349 is inapplicable to commodities-related investments. See DeAngelis v.

Corzine, 17 F. Supp. 3d 270, 284 (S.D.N.Y. 2016) (“[Plaintiff’s] § 349 claim suffers from the same

defects as the claim in Morris. [Plaintiff] invested funds with MF Global and MFGI as investments,

not as a purchase of traditional consumer goods.”).

       Cryptocommodities are a species of commodity and, further, are investment vehicles; they

are not “traditional consumer goods” or “goods to be ‘consumed’ or ‘used.’” Under Morris and its

progeny, therefore, GBL § 349 is inapplicable.

               2.      The Plaintiffs Do Not Allege Direct Causation

       To plead a plausible claim under GBL § 349, each Plaintiff “must individually plead that

the disclosures he or she received were inadequate, misleading, or false, and that she was injured

as a result of the insufficient or false disclosures.” Abraham v. American Home Mortgage

Servicing, Inc., 947 F. Supp. 2d 222, 234 (E.D.N.Y. 2013) (emphasis added). Here, Plaintiffs do

not even allege they purchased USDT, the subject of Defendants’ alleged misrepresentations. Nor

do they allege that any particular representation by Defendants caused them to make any of the

purchase decisions concerning bitcoin or other cryptocommodities.

       Further, New York law requires “more than an allegation of ‘but for’ cause to state a claim

for relief” under § 349. City of New York v Smokes-Spirits.Com, 911 N.E.2d 834, 839 (N.Y. 2009).

Instead, the causation chain must be “direct,” meaning that plaintiffs must “plead that they have

suffered actual injury caused by a materially misleading act, not that a misleading act led to further

steps which eventually harmed them.” Frintzilas v. DirecTV, LLC, 731 F. App’x 71, 72 (2d Cir.
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2018) (internal quotation marks omitted). As discussed in Section III.A, Plaintiffs’ alleged injuries

involve a remote chain of causation, involving an untold number of intermediary market actors

and transactions in between the alleged wrongdoing and their supposed harm. On this independent

basis, the GBL § 349 claim should be dismissed.

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request that this Court dismiss

Plaintiffs’ Complaint with prejudice.



 Dated: September 3, 2020                             Respectfully Submitted,


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                                      APPENDIX A

                           Chart of Plaintiffs’ Causes of Action

Count                 Cause of Action                               Defendants
1       Monopolization (Sherman Act § 2)                DigFinex; Bitfinex Defendants;
                                                        Tether Defendants; Individual
                                                        Defendants
2       Attempted Monopolization (Sherman Act § 2)      DigFinex; Bitfinex Defendants;
                                                        Tether Defendants; Individual
                                                        Defendants
3       Conspiracy to Monopolize (Sherman Act § 2)      All Defendants

4       Agreement in Restraint of Trade (Sherman        All Defendants
        Act §§ 1 and 3)
5       Market Manipulation (CEA §§ 6(c)(1), 22 and     All Defendants
        CFTC Rule 180.1)
6       Principal Agent Liability (CEA § 2(a)(1))       All Defendants


7       Aiding and Abetting (CEA § 22(a)(1))            All Defendants


8       RICO (18 U.S.C. § 1962(c))                      DigFinex; Bitfinex Defendants;
                                                        Tether Defendants; Individual
                                                        Defendants; Potter; Fowler; Crypto
                                                        Capital
9       RICO (18 U.S.C. § 1962(a))                      DigFinex; Bitfinex Defendants;
                                                        Tether Defendants; Individual
                                                        Defendants
10      RICO Conspiracy (18 U.S.C. § 1962(d))           All Defendants

11      Common Law Fraud                                Bitfinex Defendants; Tether
                                                        Defendants; Individual Defendants
12      New York Deceptive Trade Practices Law          Bitfinex Defendants; Tether
        (GBL § 349)                                     Defendants; Individual Defendants
